RECEPTION #292: 90020253) 4/23/2019 42:41 01CPM,4- of 1, BILEOD

Angela Myers, Clerk & Recorder, Larimer County, CO
Affidavit, and Assignment, of Debt

Comes now affiant, and states:
| am Danial Grumme, for Quality Stone Company the “Plaintiff'and have authority to sign documentation in
these matters on behalf of “Plaintiff”
{ am of adult age and am fully authorized by Plaintiff to make the following
representations. { am familiar with the recordkeeping practices of Plaintiff. The following representations are
true according to documents kept in the normal course of Plaintiff's business and/or my personal knowledge:
"Plaintiff" is the original owner of this debt and the original debtor ("defendant") Thomas Gravelie “Defendant",
has an unpaid balance of $4343 2? on account Jezarvie (URRY
That amount is due and owing to Plaintiff. This account was opened on Lele 2200
9 last payment from Defendant was received on in the amount of$
DW) 0.COd06 OLYe? w/e

The type of account is(please enter a check mark in the appropriate blank):
__ Credit card account (i.e. Visa, Mastercard, Department Store, etc.)
List the name of the Company/Store issuing credit card:
__Account for utilities (i.e. telephone, electric, sewer, etc.)
__ Medical bill account (i.e. doctor, dentist, hospital, etc.)
__Account for services (i.e. attorney fees, mechanic fees, etc.)

Judgment issued by a court (a copy of the judgment is required to be attached)
XOther:(Please expiain) 2205 Soca
This account balance includes: ,
] Late fees in the amount of $ LA__asot
] Other (Explain) . .
] Interest at a rate of ML % beginning on
Plaintiff’ is not seeking attorney's fees.
Plaintiff believes that defendant is not a minor or an incompetent individual.
Plaintiff hereby assigns this debt to Christopher Christensen

| swear or (2 DB. the penalties of perjury that the foregoing representations are true.

 

 

Dated: LN) AL
Signature of Affian / S
i

IN WITNESS REOF, this-assignment has been duly executed by the assig a day 2 par first written above.
Notarized Latte } Cae we LIUecor NE VIBBERT
STATE Uddin ce Nota

Notary Public - Seal
COUNTY OF (4 farailrce

State of indiana
Assignor confirmed his/her identity with a ludic

y.Cpmmission Expires Jan 6, 2021
On the Z2& "day of DQ ovewnliess 2012, La vas appee :
above affiant, who being duly swom, did depose and say (s)he/they is/are in fact the Assignor, or the authorized

representative of,-and i rized to execute this assignment.
Signe: Dated lt .27 .IP>
Assi — block printed 7, ro biune VV ddoets

if a company or non-individual legal entity, Assignor’s position is L)uIWER
The Assignor’s position/authority can be verified at the following phone number

  
      
     
  

 

  
     

 

 

Please note — It is always recommended that you speak with an attorney prior to signing any documentation.

 
